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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LUXOTTICA GROUP S.p.A. and OAKLEY,                 )
INC.,                                              )    Case No. 18-cv-02188
                                                   )
                        Plaintiffs,                )    Judge Joan B. Gottschall
                                                   )
       v.                                          )    Magistrate Judge Sidney I. Schenkier
                                                   )
XIONG HUA PING, et al.,                            )
                                                   )
                        Defendants.                )
                                                   )

                      PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO
                     DEFENDANTS’ OMNIBUS MOTION TO DISMISS

       Plaintiffs Luxottica Group S.p.A. and Oakley, Inc. (“Plaintiffs”) submit the following sur-

reply to Defendants’ belmon official store, donna official store, Shop513892 Store, story boutique

store, who cutie glasses factory store, and woo shao’s store (“Defendants”) Omnibus Motion to

Dismiss the Amended Complaint [102, 117].

       Defendants argue that Plaintiffs conceded the argument that “notwithstanding improper

service, the process itself was deficient.” This is false as Plaintiffs’ Response [113] repeatedly

argued that Defendants were properly served under this Court’s May 9, 2018 Order [43]

authorizing electronic service pursuant to Fed. R. Civ P. 4(f)(3). The May 9, 2018 Order [43] had

no translation requirement (which was unnecessary since Defendants operate English language

stores and communicated with Plaintiffs’ counsel in English).

       Defendants then mischaracterize Plaintiffs’ position as “that even if service was improper,

service through proper channels on Moving Defendants at their publicized addresses would be

practically duplicative and unnecessary, because some of them may have ‘confirmed receipt of

actual notice [sic] via email’.” [117]. Again, this is not true. Rather, Plaintiffs provided evidence
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that Defendants received actual notice of this case via email to further illustrate the effectiveness

of this Court’s Fed. R. Civ P. 4(f)(3) Order [43] authorizing electronic service of process.

       Finally, Defendants now argue that Plaintiffs “have (or should have had) notice of

Defendants’ addresses,” from shipping labels bearing “valid return addresses, at which Defendants

can receive returns,” registered addresses on file with Defendants’ online marketplaces that could

have been discovered by Plaintiffs from the third party online marketplace platforms, and from

responses to Plaintiffs’ service emails wherein some physical addresses were provided. [117].

First, Plaintiffs still do not know the true identities of the Defendants, and Defendants have made

no representations to this Court or to Plaintiffs that the return addresses are legitimate and refer to

the actual locations at which the Defendants may be served. Oftentimes, such return addresses are

illegitimate or the address of a drop-shipping facility that handles shipment of products for various

online merchants.     Moreover, any physical addresses provided by Defendants came after

Defendants had already been properly served pursuant to this Court’s May 9, 2018 Order [43]. It

is similarly noteworthy that the purported physical addresses provided by Defendants are

unverified and appear to be different addresses than the return addresses printed on Defendants’

shipping labels. Finally, even if AliExpress, the online marketplace platform used by Defendants,

was willing to provide Plaintiffs with Defendants’ physical addresses, there is no indication that

such addresses would be legitimate (as opposed to the email address on file which must be verified

to operate the AliExpress account). Regardless, for the reasons stated in Plaintiffs’ Response

[113], electronic service under this Court’s Order [43] and pursuant to Fed. R. Civ P. 4(f)(3) was

proper even if Defendants’ identities were known and one of the purported physical addresses

happened to be legitimate.

       Defendant’s Motion should be denied.



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Dated this 12th day of November 2018.   Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of November, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system. The CM/ECF system will sent a “Notice

of E-Filing” to all attorneys of record in this case.



                                               /s/ Justin R. Gaudio
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